Case 2:25-cr-00038-WSS Document31 Filed 04/15/25 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
Plaintiff, Criminal No. 2:25-cr-38-1
V. Hon. William S. Stickman IV
DONTE LASHAWN COLE,
Defendant.
PLEA

AND NOW, on the record this 14" day of April 2025,
the defendant in the above-captioned matter, DONTE LASHAWN COLE,
enters a plea of GUILTY to Count 1 of the Information.

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Signature of Defendant Donte Lashawn Cole

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Sigrature of Attorney Gabrielle Lee
Counsel for Defendant

